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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA

No. 1:16-cr-300 (TSE)

-_

DAMASO LOPEZ NUNEZ

PLEA AGREEMENT

The United States of America, by and through the undersigned counsel, and the
defendant, Damaso Lopez Nunez, and the defendant’s counsel have entered into an agreement
pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms of the agreement are
as follows:

l. Offense and Maximum Penalties

The defendant agrees to plead guilty to Count One of the indictment charging the
defendant with conspiracy to distribute five kilograms or more of cocaine, intending and
knowing that such substance will be unlawfully imported into the United States, in violation of
Title 21, United States Code, Sections 959(a), 960, and 963. The penalties for this offense are a
mandatory minimum term of imprisonment of ten (10) years, a maximum term of imprisonment
of life, a maximum fine of $10,000,000, forfeiture of assets as outlined below, a special
assessment, a minimum supervised release term of five (5) years, and a maximum supervised
release term of life. The defendant understands that this supervised release term is in addition to
any prison term the defendant may receive and that a violation of supervised release could result
in the defendant being returned to prison for the full term of supervised release.

2: Detention Pending Sentencing

The defendant understands that this case is governed by 18 U.S.C. §§ 3143(a)(2) and

3145(c). These provisions provide that a judicial officer shall order that a person who has been
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found guilty of an offense of this kind be detained unless there are statutory justifications why
such person's detention would not be appropriate.

3. Factual Basis for the Plea

The defendant will plead guilty because the defendant is in fact guilty of the charged
offense. The defendant admits the facts set forth in the Statement of Facts filed with this plea
agreement and agrees that those facts establish his guilt of the offense charged beyond a
reasonable doubt. The Statement of Facts, which is hereby incorporated into this plea
agreement, constitutes a stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing
Guidelines.

4, Assistance and Advice of Counsel

The defendant is satisfied that the defendant’s attorney has rendered effective assistance.
The defendant understands that by entering into this agreement, defendant surrenders certain
rights as provided in this agreement. The defendant understands that the rights of criminal

defendants include the following:

a. the right to plead not guilty and to persist in that plea;
b. the right to a jury trial;
c. the right to be represented by counsel — and, if necessary, have the court

appoint counsel — at trial and at every other stage of the proceedings; and
d. the right at trial to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination, to testify and present
evidence, and to compel the attendance of witnesses.
5. Role of the Court and the Probation Office
The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above but that the Court will determine the

defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands
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that the Court has not yet determined a sentence. The defendant understands that any estimate
of the advisory sentencing range under the U.S. Sentencing Commission’s Sentencing
Guidelines Manual the defendant may have received from the defendant’s counsel, the United
States, or the Probation Office, is a prediction, not a promise, and is not binding on the United
States, the Probation Office, or the Court. Additionally, pursuant to the Supreme Court’s
decision in United States v. Booker, 543 U.S. 220 (2005), the Court, after considering the factors
set forth in 18 U.S.C. § 3553(a), may impose a sentence above or below the advisory sentencing
range, subject only to review by higher courts for reasonableness. The United States makes no
promise or representation concerning what sentence the defendant will receive, and the
defendant cannot withdraw a guilty plea based upon the actual sentence.

Further, in accordance with Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure,
the United States and the defendant will recommend to the Court that defendant’s advisory
guideline range is life imprisonment, determined pursuant to the Sentencing Guidelines, as

follows:
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U.S.S.G. § 2D1.1(a) Base offense level
ULS.S.G. § 2D1.1(b)(1) Possession of a firearm
U.S.S.G. § 2D1.1(b)(2) Use of violence

U.S.S.G. § 2D1.1(b)(3) Use of non-commercial aircraft and
submersible vessels

U.S.S.G. § 2D1.1(b)(11) Bribery
US.S.G. § 2D1.1(b)(15) Other aggravating role factors
US.S.G. § 3B1.1(a) Aggravating role
Adjusted offense level
U.S.S.G. § 3E1.1(a) Acceptance of responsibility*
U.S.S.G. § 3E1.1(b) Acceptance — timely notification*
Offense level total
Guideline range

*If applicable

38

+2

+2

+2

+2

+4

52

49

Life

The United States and the defendant agree that the defendant has assisted the government

in the investigation and prosecution of the defendant’s own misconduct by timely notifying

authorities of the defendant’s intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to allocate

their resources efficiently. If the defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3EI.1(a) and the offense level prior to the operation of that section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion prior

to, or at the time of, sentencing for an additional one-level decrease in the defendant’s offense

level.
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Aside from the foregoing, the parties have no agreements as to the applicability or
inapplicability of any other sections of the Sentencing Guidelines. The United States and the
defendant agree to recommend, pursuant to 18 U.S.C. § 3553 and the Sentencing Guidelines, that
the Court sentence the defendant to life imprisonment. The United States and the defendant
understand that the Court is not bound by this agreement.

6. Waiver of Appeal, FOIA and Privacy Act Rights

The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal
the conviction and any sentence within the statutory maximum described above (or the manner in
which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any
ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on
direct appeal, in exchange for the concessions made by the United States in this plea agreement.
This agreement does not affect the rights or obligations of the United States as set forth in 18
U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation
any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the
Privacy Act, 5 U.S.C. § 552a.

7. Special Assessment

Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of $100 per count of conviction.
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8. Payment of Monetary Penalties

The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever
monetary penalties are imposed by the Court will be due immediately and subject to immediate
enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days
of a request, the defendant agrees to provide all of the defendant’s financial information to the
United States and the Probation Office and, if requested, to participate in a pre-sentencing
debtor’s examination and/or complete a financial statement under penalty of perjury. If the
Court imposes a schedule of payments, the defendant understands that the schedule of payments
is merely a minimum schedule of payments and not the only method, nor a limitation on the
methods, available to the United States to enforce the judgment. If the defendant is
incarcerated, the defendant agrees to voluntarily participate in the Bureau of Prisons’ Inmate
Financial Responsibility Program, regardless of whether the Court specifically directs
participation or imposes a schedule of payments.

9. Immunity from Further Prosecution in this District

The United States will not further criminally prosecute the defendant in the Eastern
District of Virginia for the specific conduct described in the indictment or statement of facts.

10.‘ Forfeiture Agreement

The defendant understands that the forfeiture of assets is part of the sentence that must be
imposed in this case. The defendant agrees to forfeit all interests in any drug-related asset that
the defendant owns or over which the defendant exercises control, directly or indirectly, as well
as any property that is traceable to, derived from, fungible with, or a substitute for property that
constitutes the proceeds of his offense, or facilitating property or property involved in the

offense. The defendant understands that if proceeds of the offense are not available to the
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United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of
the proceeds. United States v. Blackman, 746 F.3d 137 (4th Cir. 2014). The defendant further
agrees to waive all interest in the asset(s) in any administrative or judicial forfeiture proceeding,
whether criminal or civil, state or federal. The defendant agrees to consent to the entry of orders
of forfeiture for such property and waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Defendant admits and agrees that the conduct described in the charging instrument and
Statement of Facts provides a sufficient factual and statutory basis for the forfeiture of the
property sought by the government.

11. Waiver of Further Review of Forfeiture

The defendant further agrees to waive all constitutional and statutory challenges to
forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the
forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by
the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is
accepted as required by Rule 11(b)(1)(J). The defendant agrees to take all steps as requested by
the United States to pass clear title to forfeitable assets to the United States, and to testify
truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all
property covered by this agreement is subject to forfeiture as proceeds of illegal conduct,
property facilitating illegal conduct, property involved in illegal conduct giving rise to forfeiture,

or substitute assets for property otherwise subject to forfeiture.
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12. The Defendant’s Obligations Regarding Assets Subject to Forfeiture

Upon request by the government, the defendant agrees to identify all assets in which the
defendant had any interest or over which the defendant exercises or exercised control, directly or
indirectly, within the past ten years. The defendant agrees to take all steps as requested by the
United States to obtain from any other parties by any lawful means any records of assets owned
at any time by the defendant. The defendant agrees to undergo any polygraph examination the
United States may choose to administer concerning such assets and to provide and/or consent to
the release of the defendant’s tax returns for the previous five years.

13. Impact of Guilty Plea on Immigration Status

The defendant recognizes that pleading guilty may have consequences with respect to
defendant’s immigration status if defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense to which defendant is
pleading guilty. Indeed, because defendant is pleading guilty to conspiracy to distribute five
kilograms or more of cocaine intending and knowing that it will be unlawfully imported into the
United States, removal is presumptively mandatory. Because removal and other immigration
consequences are the subjects of a separate proceeding, the defendant understands that no one,
including defendant’s attorney or the District Court, can predict to a certainty the effect of the
defendant’s conviction on defendant’s immigration status. The defendant nevertheless affirms
that defendant wants to plead guilty regardless of any immigration consequences that defendant’s
plea may entail, even if the consequence is the defendant’s automatic removal from the United

States.
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14. Breach of the Plea Agreement and Remedies

This agreement is effective when signed by the defendant, the defendant’s attorney, and

an attorney for the United States. The defendant agrees to the entry of this plea agreement at the

date and time scheduled with the Court by the United States (in consultation with the defendant’s

attorney). Ifthe defendant withdraws from this agreement, or commits or attempts to commit

any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

misleading testimony or information, or otherwise violates any provision of this agreement, then:

a.

The United States will be released from its obligations under this
agreement. The defendant, however, may not withdraw the
guilty plea entered pursuant to this agreement;

The defendant will be subject to prosecution for any federal criminal
violation, including, but not limited to, perjury and obstruction of justice,
that is not time-barred by the applicable statute of limitations on the date
this agreement is signed. Notwithstanding the subsequent expiration of
the statute of limitations, in any such prosecution, the defendant agrees to
waive any statute-of-limitations defense; and

Any prosecution, including the prosecution that is the subject of this
agreement, may be premised upon any information provided, or
statements made, by the defendant, and all such information, statements,
and leads derived therefrom may be used against the defendant. The
defendant waives any right to claim that statements made before or after
the date of this agreement, including the Statement of Facts accompanying
this agreement or adopted by the defendant and any other statements made
pursuant to this or any other agreement with the United States, should be
excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
the Sentencing Guidelines or any other provision of the Constitution or
federal law.

Any alleged breach of this agreement by either party shal! be determined by the Court in

an appropriate proceeding at which the defendant’s disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach of the plea

agreement by a preponderance of the evidence.

15. Nature of the Agreement and Modifications
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This written agreement constitutes the complete plea agreement between the United
States. the defendant. and the defendant’s counsel. The defendant and the defendant’s attorney
acknowledge that no threats, promises, or representations have been made, nor agreements
reached, other than those set forth in writing in this plea agreement, to cause the defendant to
plead guilty. Any modification of this plea agreement shall be valid only as set forth in writing

in a supplemental or revised plea agreement signed by all parties.

Arthur G. Wyatt

Chief, Narcotic & Dangerous Drug Section
Criminal Division

United States Department ofJlstice

 

Deputy Chief for Litigation
Narcotic and Dangerous Drug Section

G. Zachary Terwilliger
United States Attorney

stern District oe

Jhmes L. Trump /

Assistant United States AMtorney
United States Attorney’s Office
2100 Jamieson Avenue
Alexandria, VA 22314

(703) 299-3726
jim.trump@usdoj.gov

   
 
 
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Defendant’s Signature: I hereby agree that | have consulted with my attorney and fully
understand all rights with respect to the pending criminal indictment. Further, | fully understand
all rights with respect to Title 18, United States Code, Section 3553 and the provisions of the
Sentencing Guidelines Manual that may apply in my case. I have carefully reviewed every part
of this agreement with my attorney in Spanish. | understand this agreement and voluntarily

agree to it.

CZ fuls= fp

ee
Diimaso Lopez Nunez Date

Defense Counsel Signature: | am counsel for the defendant in this case. I am fluent in
oral and written Spanish. | have fully explained to the defendant the defendant’s rights with
respect to the pending criminal indictment. Further, | have reviewed Title 18, United States
Code, Section 3553 and the Sentencing Guidelines Manual, and | have fully explained to the
defendant the provisions that may apply in this case. | have carefully reviewed every part of
this plea agreement with the defendant in Spanish. To my knowledge, the defendant’s decision

to enter into this agrvement is an informed and voluntary one.

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Manyel R ee Esq. Date
Attofney’for Damaso Lopez Nunez

 
